Case 8:11-cv-00429-JDW-AEP Document 1 Filed 03/01/11 Page 1 of 10 PageID 1



                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

                                         CASE NO.:

 KENDRICK E. DULDULAO,

        Plaintiff,

 vs.

 MCDONOUGH RESTAURANTS INC, a
 Florida corporation d/b/a MONSTAH
 LOBSTAH, and MABELLE B. NESTOR,
 TRUSTEE,


        Defendants.
                                                       /

                                       COMPLAINT

        Plaintiff, KENDRICK E. DULDULAO, (hereinafter the "Plaintiff'), through his

 undersigned counsel, hereby files this Complaint and sues MCDONOUGH

 RESTAURANTS INC., a Florida corporation, d/b/a MONSTAH LOBSTAH, and

 MABELLE B. NESTOR, Trustee (hereinafter, collectively the "Defendants"), for

 injunctive relief, attorney's fees and costs (including, but not limited to, court costs and

 expert fees) pursuant to 42 U.S.C. §12181, et. seq., ("AMERICANS WITH

 DISABILITIES ACT" or "ADA") and allege:

                             JURISDICTION AND PARTIES

        1.       This is an action for declaratory and injunctive relief pursuant to Title III

 of the Americans With Disabilities Act, 42 U.S.C. §12181, et. seq.. (hereinafter referred

 to as the "ADA"). This Court is vested with original jurisdiction under 28 U.S.C. §1331

 and §343.
Case 8:11-cv-00429-JDW-AEP Document 1 Filed 03/01/11 Page 2 of 10 PageID 2



        2.      Venue is proper in this Court, Middle Division pursuant to 28 U.S.C.

 §1391(B) in that all events giving rise to this lawsuit occurred in Hillsborough County,

 Florida.

        3       At the time of Plaintiffs visit to MONSTAH LOBSTAH, prior to

 instituting the instant action, KENDRICK E. DULDULAO (hereinafter referred to as

 "DULDULAO") was a resident of the State of Florida, suffered from what constitutes a

 "qualified disability" under the Americans With Disability Act of 1990, and used a

 wheelchair for mobility, the Plaintiff personally visited MONSTAH LOBSTAH but was

 denied full and equal access to, and full and equal enjoyment of, the facilities within

 MONSTAH LOBSTAH which is the subject of this lawsuit.

        4.      The Defendants, MCDONOUGH RESTAURANTS                      INC., a Florida

 corporation, d/b/a MONSTAH LOBSTAH, and MABELLE B. NESTOR, Trustee, are

 authorized to conduct, and are conducting business within the State of Florida. Upon

 information and belief, MCDONOUGH RESTAURANTS INC., is the lessee and/or

 operator of the real property (the "Subject Facility")^ and the owner of the improvements

 where the Subject Facility is located which is the subject of this action, the establishment

 commonly referred to as MONSTAH LOBSTAH located at 1531 S. Dale Mabry Avenue.

 Tampa, Florida (hereinafter and heretofore referred to as ''MONSTAH LOBSTAH")

 which also maintains and controls the Subject Facility. Upon information and belief,

 MABELLE B. NESTOR, is the lessor, operator and/or owner of the real property (the

 "Subject Facility"), and the owner of the improvements where the Subject Facility is

 located which is the subject of this action, the establishment commonly referred to as

 MONSTAH LOBSTAH located at 1531 S. Dale Mabry Avenue, Tampa, Florida
Case 8:11-cv-00429-JDW-AEP Document 1 Filed 03/01/11 Page 3 of 10 PageID 3



 (hereinafter and heretofore referred to as "MONSTAH LOBSTAH") which also

 maintains and controls the Subject Facility.

        5.      All events giving rise to this lawsuit occurred in the State of Florida.

 Venue is proper in this Court as the premises is located in Hillsborough County in the

 Middle District.

   COUNT 1 - VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

        6.      On or about July 26, 1990, Congress enacted the Americans With

 Disabilities Act ("ADA"), 42 U.S.C. §12101 et. seq. Commercial enterprises were

 provided one and a half years from enactment of the statute to implement its

 requirements. The effective date of the Title III of the ADA was January 26, 1992. 42

 U.S.C. §12181; 20 C.F.R. §36.508(a).

        7.      Congress found, among other things, that:

                (i)    some 43.000,000 Americans have one or more physical or
                mental disabilities, and this number shall increase as the
                population continues to grow older;

                (ii)    historically, society has tended to isolate and segregate
                individuals with disabilities, and, despite some improvements,
                such forms of discrimination against disabled individuals
                continue to be a pervasive social problem, requiring serious
                attention;

                (iii)    discrimination against disabled individuals persists in
                such critical areas as employment,               housing, public
                accommodations, transportation, communication, recreation,
                institutionalization, health services, voting and access to public
                services and public facilities;

                (iv)     individuals with disabilities continually suffer forms of
                discrimination, including outright intentional exclusion, the
                discriminatory effects of architectural, transportation, and
                communication barriers, failure to make modifications to existing
                facilities and practices. Exclusionary qualification standards and
                criteria, segregation, and regulation to lesser services, programs.
Case 8:11-cv-00429-JDW-AEP Document 1 Filed 03/01/11 Page 4 of 10 PageID 4



                benefits, or other opportunities; and,

                (v)      the continuing existence of unfair and unnecessary
                 discrimination and prejudice denies people with disabilities the
                 opportunity to compete on an equal basis and to pursue those
                 opportunities for which our country is justifiably famous, and
                 costs the United States billions of dollars in unnecessary expenses
                 resulting from dependency and non-productivity.

         42 U.S.C. §12101(a)(l)-(3), (5) and (9).

         8.     Congress explicitly stated that the purpose of the ADA was to:

                (i)       provide a clear and comprehensive national mandate for
                the elimination of discrimination against individuals with
                disabilities;

                (ii)   provide clear, strong, consistent, enforceable standards
                addressing discrimination against individuals with disabilities;
                and,

                (iii) invoke the sweep of congressional authority, including the
                power to enforce the fourteenth amendment and to regulate
                commerce, in order to address the major areas of discrimination
                faced on a daily by people with disabilities.

         42 U.S.C. §12101(b)(l)(2) and (4).

         9.      Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, MONSTAH

  LOBSTAH is a place of public accommodation in that it is a establishment which

 provides food, beverages and services to the public.

         10.     Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the building

  and/or Subject Facility which is the subject of this action is a public accommodation

  covered by the ADA and which must be in compliance therewith.

         11.     The Plaintiff is informed and believes, and therefore alleges, that the

  Subject Facility has begun operations and/or undergone substantial remodeling, repairs

  and/or alterations since January 26, 1990.
Case 8:11-cv-00429-JDW-AEP Document 1 Filed 03/01/11 Page 5 of 10 PageID 5



         12.    Defendants have discriminated, and continue to discriminate, against the

 Plaintiff, and others who are similarly situated, by denying full and equal access to, and

 full and equal enjoyment of, goods, services, facilities, privileges, advantages and/or

 accommodations at MONSTAH LOBSTAH'S, in derogation of 42 U.S.C. §12101 et

 seq.. and as prohibited by 42 U.S.C. § 12182 et. seq.. and by failing to remove

 architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(a)(iv), where such removal is

 readily achievable.

         13.    The Plaintiff has been unable to, and continues to be unable to, enjoy full

 and equal safe access to, and the benefits of, all the accommodations and services offered

 at MONSTAH LOBSTAH. Prior to the filing of this lawsuit, the Plaintiff visited the

 subject property and was denied full and safe access to all the benefits, accommodations

 and services of the Defendants, MCDONOUGH RESTAURANTS INC. Prior to the

 filing of this lawsuit, DULDULAO personally visited MONSTAH LOBSTAH with the

 intention of using Defendants1 facilities, but was denied full and safe access to the

 facilities of MONSTAH LOBSTAH and therefore suffered an injury in fact. As stated

 herein, the Plaintiff has visited the Subject Facility in the past, resides within a relatively

 short driving distance to said Subject Facility, and Plaintiff plans to immediately return to

 the Subject Facility, immediately upon it being made accessible.             Notwithstanding

 Plaintiffs plans of immediate return, upon the Subject Facility being made accessible.

 Plaintiff is likely to be subjected to continuing discrimination at the Subject Facility

 unless it is made readily accessible to and usable by individuals with disabilities to the

 extent required by the ADA. including the removal of the architectural barriers which

 remain at the Subject Facility.
Case 8:11-cv-00429-JDW-AEP Document 1 Filed 03/01/11 Page 6 of 10 PageID 6



         14.          Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

 Department of Justice, Office of the Attorney General, promulgated Federal Regulations

 to implement the requirements of the ADA, known as the Americans with Disabilities

 Act Accessibility Guidelines (hereinafter "ADAAG"), 28 C.F.R. Part 36, under which

 said Department may obtain civil penalties of up to $55,000 for the first violation and

 $110.000 for any subsequent violation.

         15.           The Defendants' Subject Facility is in violation of 42 U.S.C. §12181 et

 seq.. the ADA and 28 C.F.R. §36.302 et. seq.. and is discriminating against the Plaintiff

 as a result of inter alia, the following specific violations:

               (i)        Failure to provide safe, ADA compliant access to the front of the

               shopping center, due to a step up to sidewalk, in violation of 28 C.F.R. Part

               36.       This step up to sidewalk represents an insurmountable barrier to

               independent entry by the Plaintiff and other individuals who use wheelchairs,

               (ii)       Failure to provide proper adequate ADA compliant striping on

               designated ramp up to sidewalk at the front of shopping center, in violation of

               28 C.F.R. Part 36.

               (iii)      Failure to provide securely attached carpet/mat, at the entrance of the

               Subject Facility, in violation of 28 C.F.R. Part 36, Section 4.5.3.

               (iv)       The eating bar, at window, with high stools, is higher than 34 inches

               above the finish floor in violation of the requirements of 28 C.F.R. Part 36,

               Section 5.2, which requires a maximum height of the bar, or a 60 inch wide

               section of it, to be 34 inches maximum height.
Case 8:11-cv-00429-JDW-AEP Document 1 Filed 03/01/11 Page 7 of 10 PageID 7



          (v)      The counter, with menus, is inaccessible, in violation of 28 C.F.R. Part

          36, Section 7.2(2). which requires that a portion of the said counter which is a

          minimum of 36 inches (915 mm) in length shall be provided with a maximum

          height of 36 inches (915 mm); or an auxiliary counter with a maximum height

          of 36 inches (915 mm) in close proximity to the said counter; or an equivalent

          facilitation.

          (vi)     The register is at an inaccessible height, in violation of 28 C.F.R. Part

          36.

          (vii)    The tables, with rolling arm chairs, located in the front dining area, are

          inaccessible, in violation of 28 C.F.R. Part 36, Section 4.32.4.

          (viii)   The booths, with fixed benches, located in the rear dining area, are

          inaccessible, in violation of 28 C.F.R. Part 36, Section 4.32.4.

          (ix)     Failure to provide the required informational signage on the restroom

          entrance door as required by 28 C.F.R. Pan 36, Section 4.3.

          (x)      Failure to provide accessible door hardware that can be opened with a

          closed fist and does not require tight grasping, tight pinching, or twisting of

          the wrist to operate in violation of 28 C.F.R. Part 36, Section 4.13.9.

          (xi)     Failure to provide a toilet at an accessible height as required by 28

          C.F.R. Part 36.

          (xii)    Failure to completely and properly insulate exposed hot water and

          abrasive drain pipes under lavatories to prevent burns and scrapes as required

          by 28 C.F.R. Part 36, Section 4.19.4.
Case 8:11-cv-00429-JDW-AEP Document 1 Filed 03/01/11 Page 8 of 10 PageID 8



               (xiii)   Failure to install the required rear grab bar around accessible toilet in

               accordance with 28 C.F.R. Part 36, Section 4. 1 7.6.

               (xiv) Failure to install the required side grab bar around accessible toilet in

               accordance with 28 C.F.R. Part 36, Section 4.17.6.

               (xv)     Failure to provide adequate directional and accurate informational

               signage throughout the Subject Facility as required by 28 C.F.R. Part 36.

               Section 4. 1.3(1 6).

               (xvi)    Failure to provide signage addressing people with disabilities telling

               them that accessible services are provided as required by 28 C.F.R. Part 36,

               Section 4.30.4.

               (xvii) Failure to provide an adequate number of accessible handicap spaces

               at the Subject Facility that comply with the requirements of 28 C.F.R. Part 36,

               Section 4.6.3, and are located on the shortest route of travel from adjacent

               parking to the Subject Facility as required by 28 C.F.R. Part 36. Section 4.6.2.

               (xviii) Failure to provide one in every eight accessible spaces, but not less

               than one, with an accessible 96 inch wide minimum, with the designation of

               "van accessible" as required by 28 C.F.R. Part 36, Section 4.6.4. and Section



         16.       Upon information and belief, there are other current violations of the ADA

 at MONSTAH LOBSTAH. The discriminatory violations described above, in paragraph

  15, are not an exclusive list of the ADA violations at the Subject Facility, and Plaintiff

 requires an inspection of the Subject Facility in order to determine all of the

 discriminatory acts violating the ADA.
Case 8:11-cv-00429-JDW-AEP Document 1 Filed 03/01/11 Page 9 of 10 PageID 9



         17.       To date, the readily achievable barriers and other violations of the ADA

 still exist and have not been remedied or altered in such a way as to effectuate

 compliance with the provisions of the ADA.          The barriers to access at the Subject

 Facility, as described above, have severely diminished Plaintiffs ability to avail himself

 of the goods and services offered at the Subject Facility, and compromise his safety.

         18.       Pursuant to the ADA, 42 U.S.C. §12101et seq.. and 28 C.F.R. §36.304, the

 Defendants were required to make the Subject Facility, a place of public accommodation,

 accessible to persons with disabilities since January 28, 1992. To date, the Defendants

 have failed to comply with this mandate.

         19.       The Plaintiff has been obligated to retain undersigned counsel for the

  filing and prosecution of this action. The Plaintiff is entitled to have his reasonable

 attorney's fees, costs and expenses paid by the Defendants, pursuant to 42 U.S.C.

  §12205.

         20.       Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

  grant the Plaintiffs injunctive relief; including an order to alter the subject facilities to

  make them readily accessible to, and useable by, individuals with disabilities to the extent

  required by the ADA, and closing the subject facilities until the requisite modifications

  are completed.

         WHEREFORE, the Plaintiff hereby demands judgment against the Defendants

  and requests the following injunctive and declaratory relief:

         A.        The Court declares that the subject property and Subject Facility owned,

                   operated, leased, controlled and/or administered by the Defendants are

                   violative of the ADA;
Case 8:11-cv-00429-JDW-AEP Document 1 Filed 03/01/11 Page 10 of 10 PageID 10



        B.      The Court enter an Order requiring the Defendants to alter its facilities and

                amenities to make them accessible to and usable by individuals with

                disabilities to the full extent required by the Title III of the ADA;

        C.      The Court enter an Order directing the Defendants to evaluate and

                neutralize its policies, practices and procedures toward persons with

                disabilities, for such reasonable time so as to allow the Defendants to

                undertake and complete corrective procedures to the Subject Facility;

        D.      The Court award reasonable attorney's fees, all costs(including, but not

                limited to court costs and expert fees) and other expenses of suit, to the

                Plaintiff; and

         E.     The Court award such other and further relief as it deems necessary, just

                and proper.



         Dated this 28th day of February, 2011.

                                            Respectfully submitted.




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